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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                          CASE NO: 18-21083-CIV-COOKE/GOODMAN



  STAIRCARGO, INC.,
  a Florida Corporation

          Plaintiff,
  v.

  HELICOPTER PARTS
  INTERNATIONAL, INC.
  A Nevada Corporation,

        Defendant.
  ______________________________/

                          NOTICE OF SELECTION OF MEDIATOR

          Plaintiff STAIRCARGO, INC., (“Staircargo”) through undersigned counsel, hereby gives

  notice to the Court that the parties have selected Gary Birnberg Esq. to serve as the mediator in

  this action.


                                                   Respectfully Submitted,

                                                   BECERRA LAW, P.A.

                                                   /s/ Robert J. Becerra
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                                                    GRAYROBINSON P.A.

                                                    /s/ Peter A. Quinter___________
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                                CERTIFICATE OF SERVICE


          I HEREBY CERTIFY that on June 13, 2018 I electronically filed the foregoing with the

  Clerk of the Court by using the CM/ECF system which will send a notice of electronic filing to

  the following:

         Justin M. Clouser, Esq.
         1512 Hwy 395 N, Suite 1
         Gardnerville, Nevada 89410
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                                                      /s/ ROBERT J. BECERRA




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